         Case 18-34658 Document 267 Filed in TXSB on 04/12/19 Page 1 of 2




                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS                                                          ENTERED
                                                                                                                    04/12/2019
                                     HOUSTON DIVISION


In re:                                                     §
                                                           §
HOUTEX BUILDERS, LLC, et al.,3                             §               Case No. 18-34658
                                                           §
                                                           §               Chapter 11
                    DEBTORS.                               §

  ORDER GRANTING FIRST INTERIM APPLICATION FOR ALLOWANCE OF
COMPENSATION AND REIMBURSEMENT OF EXPENSES OF SCHMUCK, SMITH,
    TEES & COMPANY, P.C. AS ACCOUNTANTS FOR THE DEBTORS FOR
       THE PERIOD AUGUST 23, 2018 THROUGH FEBRUARY 28, 2019
                   (This Order relates to ECF No. 222)
                                                  ___)

         Upon consideration of the First Interim Application for Allowance of Compensation and

Reimbursement of Expenses (the “Application”) of Schmuck, Smith, Tees & Company, P.C.

(“SST”), as accountants to HouTex Builders, LLC, 2203 Looscan Lane, LLC and 415 Shadywood,

LLC (each a “Debtor” and collectively the “Debtors”) for the period August 23, 2018 through and

including February 28, 2019 (the “Application Period”) and the Court having determined it has

jurisdiction to consider the Application and the relief requested therein pursuant to 28 U.S.C.

§ 1334, 11 U.S.C. §§ 330 and 331, Bankruptcy Rule of Procedure 2016, and Local Bankruptcy Rule

2016-1; and it appearing to the Court that the Application and the relief requested therein is a core

proceeding pursuant to 28 U.S.C. § 157(b) and venue is proper in this district pursuant to 28 U.S.C.

§§ 1408 and 1409; and it appearing to the Court that due and proper notice of the Application has

been given and no other or further notice need be provided; and it further appearing to the Court

after review of the Application, any objections (any outstanding as of the hearing date on the

3        The names of the Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: HOUTEX Builders, LLC (2111); 2203 Looscan Lane, LLC (1418); and 415
         Shadywood, LLC (7627).


ORDER ON FIRST INTERIM FEE APPLICATION                                                                     PAGE 1 OF 2
        Case 18-34658 Document 267 Filed in TXSB on 04/12/19 Page 2 of 2



Application having been overruled) and the record made by SST during the hearing before the Court

on the Application that SST has established the basis for interim allowance of fees and expenses

during the Application Period as set out in the Application; IT IS HEREBY

       ORDERED, that the relief requested in SST’s Application is approved and the amount of

$8,081.25 (the “Total Interim Award”) consisting of professional and paraprofessional fees of

$8,002.50 and out-of-pocket expenses of $78.75 during the Application Period is allowed on an

interim basis for SST; and further

       ORDERED, that the Debtors shall pay to SST the Total Interim Award promptly following

entry of this Order; and further

       ORDERED, that the Court shall retain jurisdiction with respect to all matters relating to the

interpretation and implementation of this order.



DATED: _________________, 2019.

                                              ____________________________________
               April 12, 2019
                November  01, 2018
                                              THE HONORABLE JEFFERY NORMAN
                                              UNITED STATES BANKRUPTY JUDGE




ORDER ON FIRST INTERIM FEE APPLICATION                                                  PAGE 2 OF 2
